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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

 ROSE MARIE ROGNON,                                )
                                                   )
                            Plaintiff,             )
                                                   )
  v.                                               )     Civil Action No. 7:17-cv-00302
                                                   )
 NELSON “BUZZ” SOSNOSKI,                           )     By: Elizabeth K. Dillon
                                                   )         United States District Judge
                            Defendant.             )

                                         FINAL JUDGMENT

        On January 24, 2019, after a three-day trial, the jury returned a verdict in favor of

 defendant Nelson “Buzz” Sosnoski, as noted in the previously docketed verdict form (Dkt. No.

 60). In accordance with the jury’s verdict and Federal Rule of Civil Procedure 58, the court

 hereby ENTERS final judgment in favor of Nelson “Buzz” Sosnoski.

        The clerk is directed to strike this case from the court’s active docket and to send a copy

 of this final judgment to the parties’ counsel of record.

        Entered: February 6, 2019.



                                                       /s/ Elizabeth K. Dillon
                                                       Elizabeth K. Dillon
                                                       United States District Judge
